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                    1 BOIES SCHILLER FLEXNER LLP
                      Travis LeBlanc, SBN 251097
                    2  tleblanc@bsfllp.com
                      435 Tasso Street, Suite 205
                    3 Palo Alto, California 94301
                      Phone: (650) 445-6400 /Fax: (650) 329-8507
                    4
                      David K. Willingham, SBN 198874
                    5  dwillingham@bsfllp.com
                      725 S Figueroa Street, 31st Floor
                    6 Los Angeles, California 90017
                      Phone: (213) 629-9040 /Fax: (213) 629-9022
                    7
L L P




                      Lee S. Wolosky (pro hac vice)
                    8  lwolosky@bsfllp.com
                      Robert J. Dwyer (pro hac vice)
F L E X N E R




                    9  rdwyer@bsfllp.com
                      575 Lexington Ave., 7th Floor
                   10 New York, NY 10022
                      Phone: (212) 446-2300 /Fax: (212) 446-2350
                   11
                      Amy L. Neuhardt (pro hac vice)
S C H I L L E R




                   12  aneuhardt@bsfllp.com
                      1401 New York Avenue, NW
                   13 Washington, DC 20005
                      Phone: (202) 237-2727 /Fax: (202) 237-6131
                   14
                      Counsel for Plaintiffs
                   15
B O I E S




                   16                 UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
                   17
                   18 BROIDY CAPITAL MANAGEMENT                Case No. 2:18-CV-02421-JFW-(Ex)
                      LLC, ELLIOTT BROIDY, and ROBIN
                   19 ROSENZWEIG,                              The Honorable John F. Walter
                   20              Plaintiffs,                 SUPPLEMENTAL DECLARATION
                                                               OF LEE WOLOSKY IN SUPPORT
                   21        v.                                OF PLAINTIFFS’ REPLY
                                                               MEMORANDUM IN SUPPORT OF
                   22 STATE OF QATAR, STONINGTON               PLAINTIFFS’ EX PARTE
                      STRATEGIES LLC, NICOLAS D.               APPLICATION FOR (1)
                   23 MUZIN, and DOES 1-10,                    TEMPORARY RESTRAINING
                                                               ORDER AGAINST DEFENDANTS;
                   24              Defendants.                 (2) ORDER TO SHOW CAUSE FOR
                                                               PRELIMINARY INJUNCTION;
                   25                                          AND (3) ORDER GRANTING
                                                               EXPEDITED DISCOVERY
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                   28
                                                                                    Case No. 2:18-CV-02421
                                                                           DECLARATION OF LEE WOLOSKY
                  Case 2:18-cv-02421-JFW-E Document 34-1 Filed 04/04/18 Page 2 of 3 Page ID #:383




                     1                        DECLARATION OF LEE WOLOSKY
                     2         I, Lee Wolosky, hereby declare as follows:
                     3         1.    I am a Partner at the law firm of Boies Schiller Flexner LLP. I
                     4 represent the Plaintiffs in this action.
                     5         2.    Shortly after receiving the opposition brief, my partner Amy L.
                     6 Neuhardt and I spoke by teleconference with counsel for Defendant State of Qatar.
                     7         3.    In order to promote judicial efficiency and avoid unnecessary motion
L L P




                     8 practice, I offered to counsel for the State of Qatar on that teleconference to stay
F L E X N E R




                     9 consideration of Plaintiffs’ Application for a Temporary Restraining Order and
                   10 Order to Show Cause for a Preliminary Injunction as against Defendant State of
                   11 Qatar until such time as the jurisdictional issues raised by the State of Qatar could
S C H I L L E R




                   12 be resolved through a motion to dismiss.
                   13          4.    In exchange, I asked the State of Qatar to (a) drop its opposition to
                   14 expedited discovery against Defendants Stonington and Muzin and/or to explain the
                   15 basis for the objection with greater particularity, including through reference to
B O I E S




                   16 supporting legal authority, and (b) to provide a representation from counsel that
                   17 unauthorized access to Plaintiffs’ electronic data by the State of Qatar was not
                   18 ongoing. A true and correct copy of an email sent by my partner, Amy Neuhardt,
                   19 recording that offer in writing is attached herewith as Exhibit 1. A true and correct
                   20 copy of the proposed joint stipulation attached to that email is attached herewith as
                   21 Exhibit 2.
                   22          5.    As of the time of the current filing, counsel for the State of Qatar had
                   23 not accepted this offer. A true and correct copy of an email from counsel to the
                   24 State of Qatar to me as of 11:01 pm on April 3, 2018 to this effect is attached
                   25 herewith as Exhibit 3.
                   26          6.    Since Plaintiffs filed its Application for a Temporary Restraining Order
                   27 and Order to Show Cause for a Preliminary Injunction, Plaintiffs and I have
                   28
                                                                                           Case No. 2:18-CV-02421
                                                                                  DECLARATION OF LEE WOLOSKY
                  Case 2:18-cv-02421-JFW-E Document 34-1 Filed 04/04/18 Page 3 of 3 Page ID #:384




                     1 continued to receive urgent requests for comment by news organizations relating to
                     2 electronic materials stolen from Plaintiffs. True and correct copies of emails from
                     3 Newsweek containing such requests are attached hereto as Exhibits 4 and 5.
                     4
                     5 Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is
                     6 true and correct.
                     7
L L P




                     8 Dated: April 4, 2018
F L E X N E R




                     9
                                                                           __/s/ Lee S.Wolosky_______
                   10                                                      Lee Wolosky
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S C H I L L E R




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                                                                  SUPPLEMENTAL DECLARATION OF LEE WOLOSKY
